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               EXHIBIT K




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15                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
16                                SAN FRANCISCO DIVISION”

17   GOOGLE LLC,                               Case No. 3:20-cv-06754-WHA
                                               Related to Case No. 3:21-cv-07559-WHA
18          Plaintiff and Counter-defendant,
                                               REBUTTAL EXPERT REPORT OF
19          v.                                 DR. KEVIN C. ALMEROTH
20   SONOS, INC.,

21          Defendant and Counter-claimant.

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 1   as the YouTube Music and Spotify services that exist today). Id. This networked multi-zone audio

 2   system provided a new paradigm that advanced over the “conventional multi-zone audio

 3   system[s]” discussed in the background of the ’885 and ’966 Patents that were connected by

 4   speaker wire to a centralized A/V receiver and did not have the capability to communicate over a

 5   data network or process digital data, which made such systems “inflexible,” “difficult” to use, and

 6   “not [] suitable” for many users. See ’966 Patent at 1:46-2:16.4

 7          127.    Each of the “zone players” in the networked multi-zone audio system described in

 8   the ’966 Patent (and in Sonos’s own system at the time) was capable of playing back audio

 9   individually (i.e., on its own). See, e.g., ’966 Patent at 4:44-5:2, 5:21-6:27, 6:39-43. In addition,

10   each of the “zone players” in the networked multi-zone audio system described in the ’966 Patent

11   (and in Sonos’s own system at the time) was capable of being grouped together with one or more

12   other “zone players” so that the grouped “zone players” become configured for synchronous

13   playback. Id. at 5:16-20, 5:57-6:7, 6:43-48, 7:35-41, 7:58-9:30, 10:4-11:20. In this respect, each

14   “zone player” operated in one of two states at any given time: (i) a first state in which the “zone

15   player” is not actively grouped with any other “zone player” but rather is configured to play back

16   audio individually (i.e., a non-grouped or standalone mode), whether or not the “zone player” is

17   engaging in active playback, or (ii) a second state in which the “zone player” is actively grouped

18   with one or more other “zone players” such that it is configured for synchronous playback as part

19   of that group (i.e., a grouped mode), whether or not the group is engaging in active playback. Id.

20          128.    The ’966 Patent goes on to explain that in a networked multi-zone audio system

21   like the one described in the ’966 Patent, one process for grouping “zone players” together for

22   4
       I understand that the description of the networked multi-zone audio system in the ’966 Patent
23   was based on Sonos’s own networked multi-zone audio system, which Sonos began working on
     in 2002 and commercially released in January 2005 under the name “The Sonos Digital Music
24   System.” See, e.g., https://www.sonos.com/en-us/how-it-started; Millington Dep. Tr. at 113:14-
     20. In Sonos’s networked multi-zone audio system that was released in January 2005, the “zone
25   players” were called “ZonePlayers” (model number “ZP100”), and there were two types of
26   “controlling devices” that could be used with the ZonePlayers – a computer installed with Sonos’s
     “Desktop Controller” software or a dedicated “Sonos Controller” handheld device (model number
27   “CR100”). Sonos’s networked multi-zone audio system that was released in January 2005
     provided a new paradigm that advanced over the “conventional multi-zone audio system[s]”
28   described in the ’966 Patent.

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 1   synchronous playback involved a user selecting a particular set of “zone players” to group together

 2   in an ad-hoc manner, one-by-one, when the user wishes to listen to audio across the set of “zone

 3   players,” which would then create a temporary, ad-hoc group. Id. at 8:30-45; ’407 Provisional, at

 4   App’x A, 1. The ’966 Patent also notes that this ad-hoc grouping process was being utilized by

 5   the commercial embodiment of Sonos’s networked multi-zone audio system at the time of the

 6   invention of the ’966 Patent in 2005. See ’966 Patent at 8:42-44 (referring to this ad-hoc grouping

 7   process as the “current mechanism”); ’407 Provisional, at App’x A, 1 (explaining that “[c]urrently

 8   in the Sonos UI, zone groups are created by manually linking zones one at a time until the desired

 9   zone grouping is reached”). However, the ’966 Patent notes that this process “may sometimes be

10   quite time consuming,” because each time the user wishes to use a different group for synchronous

11   playback, the user has to repeat the ad-hoc process of selecting each of the “zone players” to

12   include in the group even if it is a grouping of “zone players” that has previously been formed and

13   activated by the user on many other occasions in the past. ’966 Patent at 8:42-45, 54-56. This

14   was a byproduct of the fact that a group of “zone players” created using the ad-hoc process was

15   temporary – it only existed during the limited time that the group was activated for playback, and

16   as soon as a user wanted to use a “zone player” in an existing group for individual playback or

17   wanted to create a new group that included one or more of the “zone players” in the existing group,

18   the existing group would need to be destroyed. Thus, the only way a user could use a group having

19   that same group membership again in the future was by re-creating a new temporary group that

20   included the same members as the previously-existing group.

21          129.    In view of these drawbacks with ad-hoc grouping, the ’966 Patent disclosed a new

22   process for grouping “zone players” together for synchronous playback in a networked multi-zone

23   audio system using a “zone scene,” which comprises a “predefined,” “saved” group of “zone

24   players” that can later be invoked on demand for synchronous playback. Id. at 8:45-9:30, 10:4-

25   11:20, FIGs. 5A-B, 6; see also ’407 Provisional at App’x A; D.I. 309 at 4 (the Court finding that

26   “the ’885 Patent allows a user to customize and save multiple groups of smart speakers or other

27   players . . . and then later ‘activate a customized group, called a ‘zone scene,’ on demand), 8 (the

28   Court noting that the “basic purpose of the invention . . . is to allow users to pre-save customized

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 1   speaker groups and later ‘invoke’ the named group on demand”). This new grouping process

 2   enables a user to activate a group of “zone players” for synchronous playback in a more seamless

 3   manner, because instead of having to select each “zone player” to include in the group in a “time

 4   consuming” ad-hoc manner, the user can simply select a pre-saved “zone scene” comprising a

 5   predefined version of the group.

 6          130.    As disclosed in the ’966 Patent, a “zone scene” is first created and saved during an

 7   initial “setup” phase which involves using a controller device to add the particular “zone players”

 8   that are to be included in the predefined group to the “zone scene,” assign a name to the “zone

 9   scene,” and then save the “zone scene.” See, e.g., ’966 Patent at 8:45-51, 10:4-19, 10:36-52, 11:12-

10   19; ’407 Provisional at App’x A, 1-2, 9-16. Once saved, the “zone scene” then becomes available

11   to be “invoked” on demand at the request of a user so that the predefined group of “zone players”

12   can later be activated for synchronous playback. See, e.g., ’966 Patent at 9:16-20, 10:53-63, 11:12-

13   19, ’407 Provisional at App’x A, 1-8.

14          131.    The ’966 Patent further discloses that a user can set up multiple different “zones

15   scenes” comprising multiple different predefined groups of “zone players,” including predefined

16   groups with overlapping members, which then provides the user with the flexibility to later invoke

17   any one of these “zone scenes” at a desired time without having to re-construct the predefined

18   group in an ad-hoc manner. See, e.g., ’966 Patent at 2:56-59 (disclosing that “various scenes may

19   be saved in any of the members in a group,”), 8:52-9:19 (disclosing four different examples of

20   “zone scenes” for a given system that have overlapping members), 10:4-6 (disclosing that when

21   setting up a new “zone scene,” a user is presented with a list of “the available zones in a

22   household”), 10:12-19 (disclosing that when a user is selecting which “zone players to add during

23   setup of each “zone scene,” the user is presented with “ALL the zones in the system, including the

24   zones that are already grouped”), 10:36-42 (disclosing an example where a user is presented with

25   an “interface to select” from the “players in a household”), 10:51-52 (disclosing that after one

26   “zone scene” has been set up, a user may “go back . . . to configure another [zone] scene if

27   desired”), FIGs. 6, 8; see also ’407 Provisional at 12-13 (disclosing a “Morning” “zone scene”

28   comprising a predefined grouping of the “Bedroom, Den and Dining Room” players and “a simple

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 1          275.    Second, the Sonos Forums reference, as a whole, does not qualify as prior art under

 2   §102(b). Specifically, I understand that the “Macro / presets” thread does not qualify as prior art

 3   under §102(b) because it was not published more than one year before the claimed priority date of

 4   September 12, 2006. As acknowledged by Dr. Schonfeld, the earliest post from the “Macro /

 5   presets” thread is dated September 22, 2005, which is not more than one year before the claimed

 6   priority date. Schonfeld Op. Report at ¶ 177; GOOG-SONOS-WDTX-INV-00015877 at 877.

 7          276.    Similarly, Dr. Schonfeld has relied on several posts from the “virtual zones and

 8   zone grouping” thread that do not qualify as prior art under §102(b) because they were not

 9   published more than one year before the claimed priority date. In fact, there are only 5 posts from

10   the “virtual zones and zone grouping” thread (reproduced above) that could qualify as prior art

11   under §102(b), since every other post from that thread is dated no earlier than April 18, 2006. See

12   GOOG-SONOS-WDTX-INV-00015870.

13          277.    Moreover, I understand that a claimed invention cannot be anticipated or rendered

14   obvious by a prior art reference if the disclosures of that reference that are cited as alleged prior

15   art are not enabled. Thus, even if some aspects of the idea behind a “zone scene” were disclosed

16   in these threads, I do not find these threads enabling. Indeed, these threads are nothing more than

17   a wish list – they do not enable a POSITA as to how a “virtual zone” or saved “Zone links as

18   favorites” could be implemented. Id; GOOG-SONOS-WDTX-INV-00015877 at 877. Without

19   such enablement, the Sonos Forums reference does not qualify as prior art to the Asserted Claims

20   of the ’966 Patent.

21          278.    Third, it is my opinion that the Sonos Forums reference does not qualify as prior

22   art under §102(f). In this regard, it is my opinion that Dr. Schonfeld has failed to establish both

23   (1) prior conception of the invention by another from the Sonos Forums, which must be a complete

24   conception of the claimed invention, and (2) communication of that prior conception to the named

25   inventor that is sufficient to enable him to construct and successfully operate the claimed invention,

26   which I understand are required under §102(f).

27          279.    In particular, Dr. Schonfeld has failed to establish prior conception of the inventions

28   set forth by the Asserted Claims of the ’966 Patent by another from the Sonos Forums. In fact,

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 1   on September 22, 2005. 1/9/2023 Discussion with Mr. Lambourne.

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     Id.
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            283.    Given that Mr. Lambourne already memorialized his thoughts on his “zone scene”
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     concept well before the earliest post from the “Macro / presets” thread, it is my opinion that the
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     Sonos Forums reference could not have evidenced prior conception.
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            284.    Further, even if the Sonos Forums reference did disclose the idea of “zones scenes,”
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     I have seen evidence from the Sonos Forums reference casting doubt as to how overlapping “zone
18
     scenes” would have worked in Sonos’s system. For example, even after the claimed conception
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     date, a post from “Majik” on April 18, 2006 in the “virtual zones and zone grouping” thread
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     suggests that there were concerns about potential “side-effects” if “zones [can] be allowed to be in
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 1   more than one group”:

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     GOOG-SONOS-WDTX-INV-00015870 at 871.
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            285.   I have also seen evidence from other Sonos threads suggesting that, even in 2016,
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     users were skeptical as to how overlapping “zone scenes” could have worked in Sonos’s system:
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14   SONOS-SVG2-00226916 at 916.

15          286.    Because there is no prior conception, there is also no communication of prior

16   conception, which I understand is further required under §102(f). But even if there was evidence

17   of prior conception from the Sonos Forums, Dr. Schonfeld still failed to establish any

18   communications of the Sonos Forums to the named inventor Mr. Lambourne.

19          287.    Specifically, Dr. Schonfeld relies on Mr. Farrar’s testimony to establish that

20   “Sonos’s product management team (likely including Mr. Lambourne) was made aware of the

21   issues raised in the Forum thread.” Schonfeld Op. Report at ¶ 179 (citing Farrar Dep. Tr. at 91:13-

22   94:7). But Mr. Farrar is not the named inventor of the ’885 and ’966 Patents, and Mr. Farrar

23   testified that he did not know whether the Sonos Forums reference was communicated to the

24   named inventor Mr. Lambourne. See Farrar Dep. Tr. at 93:12-14. In this regard, Dr. Schonfeld

25   merely speculates that “Sonos’s product management team (likely including Mr. Lambourne) was

26   made aware of the issues raised in the Forum thread.” Schonfeld Op. Report at ¶ 179.

27          288.    Moreover, Dr. Schonfeld’s reliance on Mr. Lambourne’s testimony that Mr.

28   Lambourne generally “read forum posts from time to time” (id. (citing Lambourne Dep. Tr. at

                                                    171
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 1   time, because a zone player’s membership within one ad-hoc group was mutually exclusive to its

 2   ability to operate as a member of another ad-hoc group (or to play back audio on its own). Thus,

 3   once a “zone player” was a member of a first ad-hoc group, the only way that a user could create

 4   a second ad-hoc group that included the “zone player” as a member was by first removing the

 5   “zone player” from the first ad-hoc group (and thereby destroying the first ad-hoc group) – it was

 6   not possible for a “zone player” to be a member of multiple different ad-hoc groups that were in

 7   existence and available for selection by a user contemporaneously.

 8          495.    Fourth, the user-customized groups that are predefined and pre-saved as part of the

 9   “zone scenes” are persistent, which means that not only are they able to exist prior to being

10   activated, but they also remain in existence after a user chooses to uninvoke a previously-invoked

11   “zone scene” and thereby deactivate the group. In contrast, an ad-hoc group was temporary – it

12   only exists during the limited time that the group was activated for playback, and once a user

13   decided to deactivate the ad-hoc group, it was destroyed such that the user could not re-use the ad-

14   hoc group in the future.

15          496.    Because of these distinctions, the claimed technology for creating and invoking

16   “zone scenes” provided users with a new way to group “zone players” together for synchronous

17   playback in a networked multi-zone audio system, which was intended to improve upon certain

18   drawbacks with both the existing process for grouping players in “conventional multi-zone audio

19   systems” as well the existing process for grouping “zone players” together for synchronous

20   playback that was being practiced by Sonos’s own commercial system at the time of the invention

21   of the ’966 Patent in 2005. See ’966 Patent at 1:30-2:24, 8:30-45. Indeed, as the Court recognized

22   in its Order re Cross Motions for Partial Summary Judgment as to Claim 1 of the ’885 Patent,

23   “[t]he claimed ability to customize and save overlapping speaker groups and easily control group

24   playback represents a clear technological improvement over the ‘conventional multi-zone audio

25   system,’ which, as the specification explained, presents significant technological and physical

26   obstacles to forming speaker groups.” D.I. 309 12; see also id. at 3-5, 8, 13, 16.

27          497.    Turning to Sonos’s system as it existed in 2005, the evidence I have reviewed

28   establishes that the controller(s) (e.g., a Sonos CR100) in Sonos’s 2005 system did not have any

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 1   functional capability for creating or invoking a “zone scene” – let alone the required functional

 2   capability to cause the creation of two different, overlapping “zone scenes” that are both available

 3   for selection by a user and then later cause a selected one of the two different “zone scenes” to be

 4   invoked, as required by Asserted Claim 1 of the ’966 Patent.

 5          498.    As an initial matter, the Sonos UI Specification for “Zone Scenes” establishes that

 6   Sonos controllers in Sonos’s 2005 system did not have any functional capability for creating or

 7   invoking a “zone scene.” In particular, that Sonos UI Specification, which was created on

 8   December 20, 2005 and modified on December 21, 2005, includes the following “Introduction”

 9   section:

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20   SONOS-SVG2-00026839-58 at SONOS-SVG2-00026840; see also ‘407 Provisional, at App’x A,
21   1 (attaching another version of the Sonos UI Specification for “Zone Scenes”).
22          499.    This “Introduction” section of Sonos’s UI specification for “Zone Scenes” confirms
23   that the “current[]” mechanism for grouping ZonePlayers in Sonos’s system in December 2005
24   was an ad-hoc grouping approach whereby “zone groups [were] created by manually linking zones
25   one at a time until the desired zone grouping is reached.” Id
                                                                Id. In turn, the Sonos UI specification
26   for “Zone Scenes” goes on to introduce and describe the “zone scenes” technology that is described
27   and claimed in the ’966 Patent as a new feature that would provide an alternative to the “current”
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 1   ad-hoc grouping approach being practiced by Sonos’s system at the time. Id
     ad                                                                      Id. (also noting that “the

 2   Zone Scene feature is much more flexible and powerful” than the “current Party Mode setting that

 3   is available”); see also ’966 Patent at 8:30-61 (explaining that the “current mechanism” for

 4   “‘joining’ zone players together for music playback” was an ad-hoc grouping process whereby a

 5   user “must start with a single zone and then manually link each zone to that zone” at the time the

 6   user wishes to use the group for synchronous audio playback, and then introducing and describing

 7   the “zone scenes” technology as a new feature that would provide an alternative to this “current

 8   mechanism” for grouping).

 9          500.    Several other objective aspects of this UI specification document confirm that

10   Sonos’s 2005 system did not have the features discussed in the UI specification and that this was

11   a proposal for a feature addition to Sonos’s 2005 system as it existed in December 2005. First, the

12   document bears a version number (“Version 001”), which is something generally found on draft

13   documents that change over time as features are modified:

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            501.    Second, the footer bears the legend “FOR INTERNAL USE ONLY,” which further
21
     confirms that this was a working draft of a confidential feature that was still under development
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     and not yet released:
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            502.    This document alone definitively establishes that Sonos controllers in Sonos’s 2005
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     system did not have any functional capability for creating or invoking a “zone scene.”
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 1          503.    The “Sonos Digital Music System User Guide” dated April 2005 (“Sonos 2005

 2   User Guide”) also establishes that Sonos controllers in Sonos’s 2005 system did not have any

 3   functional capability for creating or invoking a “zone scene.” For instance, in the chapter on the

 4   Sonos “Desktop Controller Software” for Windows, the Sonos 2005 User Guide includes a section

 5   entitled “Zone groups” where it describes the grouping capabilities of Sonos’s 2005 system that

 6   existed at the time. That “Zone groups” section begins by explaining as follows:

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     Sonos 2005 User Guide (Lambourne Dep. Exs. 1077-1078), at 3-11; see also id. at 5-8. To provide
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     some additional context for this passage, my understanding is that Sonos’s 2005 system used
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     “zones” as a way to logically identify ZonePlayers in Sonos’s 2005 system in a more user-friendly
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     manner. In this respect, my understanding is that each ZonePlayer in Sonos’s 2005 system would
14
     have been identified in terms of a respective “zone,” which typically would have been a descriptor
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     of a room or other area within a user’s listening environment. Thus, my understanding is that the
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     discussion of grouping “zones” in the foregoing passage is a reference to grouping ZonePlayers in
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     Sonos’s 2005 system. My understanding set forth above is based on my review of various evidence
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     related to Sonos’s 2005 system as well as my discussion with Mr. Millington, and is further
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     confirmed by the portion of the foregoing passage stating that “You can link all the ZonePlayers
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     in your house with one touch by selecting All Zone-Play Mode.” Id
                                                                    Id. (emphasis added); 7/19/2022
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     Discussion with Mr. Millington.
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 1           504.   In turn, the “Zone groups” section describes the process for creating a “zone group”

 2   as follows:

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     Id. at 3-12.
     Id
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 1           505.   The Sonos 2005 User Guide also includes a similar “Zone groups” section in the

 2   chapter on the Sonos CR100 Controller, as shown below:

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24   Id. at 5-9.
     Id

25           506.   As demonstrated by the above excerpts from the Sonos 2005 User Guide, a user

26   could create a new “zone group” using a Sonos controller by selecting a specific set of ZonePlayers

27   (logically identified as zones) in a Sonos system to group together into the “zone group,” such as

28   a Kitchen + Jack’s Bedroom group or a Garden + Kitchen group, and the act of creating this new

                                                    265
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 1   “zone group” would then “cause all the zones in the zone group to play the same music.” Id. at 3-

 2   11. Additionally, the Sonos 2005 User Guide notes that “[a]ny zones you link [into a zone group]

 3   will automatically drop their current music queue and begin to play the music queue from the

 4   highlighted zone,” and that if “there is no music playing” in the highlighted zone, then “any zone

 5   you link to it will also be silent.” Id. at 3-12, 5-8, 5-9.

 6           507.    The 2005 User Guide also explains that once a new “zone group” is formed and

 7   thereby activated, all of the ZonePlayers in the “zone group” “will then play the same music until

 8   you drop the zones from the zone group.” Id. at 5-9. The 2005 User Guide then goes on to describe

 9   the process “[t]o drop a room from your zone group” as follows:

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24           508.    As demonstrated by the above excerpt from the Sonos 2005 User Guide, once a
25   ZonePlayer is removed from a “zone group,” that ZonePlayer “stops playing music” in accordance
26   with the “zone group” while “[t]he other zones in the zone group continue unaffected.” Id. at 5-
27   10.
28

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 1          509.    Based on the foregoing description, it is clear that a “zone group” created in this

 2   manner only existed temporarily during the limited time that the group was activated for playback,

 3   and as soon as a user wanted to use a ZonePlayer in an existing group for individual playback or

 4   wanted to create a new group that included one or more of the ZonePlayers in the existing group,

 5   the existing group would need to be destroyed by removing the one or more ZonePlayers that the

 6   user wanted to use for individual playback or wanted to include in a new “zone group.” 7/19/2022

 7   Discussion with Mr. Millington; 1/9/2023 Discussion with Mr. Lambourne. As a result, the only

 8   way a user could use a group having that same group membership again in the future was by re-

 9   creating a new temporary group that included the same members as the previously-existing group.

10   Id. And as explained above, such a temporary, ad-hoc group that was automatically activated at

11   the time of creation and then only remained in existence during the limited time it was activated is

12   distinctly different from a “zone scene,” which requires a user-customized, pre-saved group of

13   “zone players” that is able to exist in an inactive state while remaining available for selection by a

14   user so that it can later be invoked on demand for synchronous playback.

15          510.    Indeed, as an initial matter, a “zone group” of ZonePlayers was not a pre-saved

16   group that was available to be later invoked on demand for synchronous playback at some time

17   after the creation of the “zone group,” which is a fundamental requirement of the claimed “zone

18   scenes.” Id. To the contrary, a “zone group” of ZonePlayers was a temporary, ad-hoc group that

19   was automatically activated at the time it was created and then only remained in existence until

20   the time that the “zone group” was deactivated, at which time the “zone group” would be

21   automatically destroyed such that the “zone group” was not available to be later invoked on

22   demand for synchronous playback. Id.

23          511.    Further, a “zone group” of ZonePlayers was not a pre-saved group that was able to

24   exist in an inactive state in which the pre-saved group was available for selection by a user but the

25   “zone players” in the pre-saved group could still be used for individual audio playback (or as part

26   of another group), which is another fundamental requirement of the claimed “zone scenes.” Id.

27   To the contrary, a “zone group” of ZonePlayers was only able to exist in an active state during

28   which time it was not possible for a user to use any of the ZonePlayers added to the “zone group”

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 1   for individual audio playback, and once a “zone group” was deactivated, it would be automatically

 2   destroyed such that it was no longer available for selection by a user. Id.

 3          512.     Further yet, a “zone group” of ZonePlayers was not capable of having a group

 4   member that was also a member of a different “zone group” available for selection by a user, which

 5   is another requirement of the claimed “zone scenes.” Id. To the contrary, a ZonePlayer could only

 6   be a member of one “zone group” that was in existence at any given time, and the only way a

 7   ZonePlayer in a first “zone group” could have been added to a second “zone group” was to destroy

 8   the first “zone group.” Id.

 9          513.    Lastly, there was no ability for a user to assign a thematic name to a “zone group,”

10   which fails to meet the additional “according to a common theme” requirement of Google's

11   proposed construction of a “zone scene,” as interpreted by the Court. Id.

12          514.    Thus, for at least these reasons, it is my opinion that a “zone group” created by

13   selecting a specific set of ZonePlayers in a Sonos system to group together into the “zone group”

14   in an ad-hoc manner does not constitute a “zone scene.”

15          515.    As demonstrated by the above excerpts from the Sonos 2005 User Guide, a user

16   could also create a new “zone group” by selecting the “All Zones-Party Mode” option, which

17   would then cause all of the ZonePlayers in a Sonos system to “play the same music until you drop

18   the zones from the zone group.” Sonos 2005 User Guide (Lambourne Dep. Exs. 1077-1078), at

19   3-12, 5-9. This “All Zones-Party Mode” option, which was hard-coded into the Sonos Desktop

20   Controller software and the Sonos CR100 Controller firmware, provided an alternative way for a

21   user to create a new “zone group” including all ZonePlayers in a Sonos system that avoided the

22   need for the user to select each of the group members one at a time during the process of creating

23   the “zone group.” 7/19/2022 Discussion with Mr. Millington; 1/9/2023 Discussion with Mr.

24   Lambourne.

25          516.    However, because the “All Zones-Party Mode” option was hard-coded into the

26   Sonos Desktop Controller software and the Sonos CR100 Controller firmware, it was not a user-

27   created, customized group that was predefined and pre-saved at a user’s request as part of an initial

28   “setup” phase, which is a required aspect of the claimed “zone scenes.” See Case No. 20-6754,

                                                     268
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 1   D.I. 309 at 4 (the Court finding that Sonos’s patented “zone scene” technology ““allows a user to

 2   customize and save multiple groups of smart speakers or other players . . . and then later ‘activate

 3   a customized group, called a ‘zone scene,’ on demand), 8 (the Court noting that the “basic purpose

 4   of the invention . . . is to allow users to pre-save customized speaker groups and later ‘invoke’ the

 5   named group on demand”), 12 (the Court finding that “[t]he claimed ability to customize and save

 6   overlapping speaker groups and easily control group playback represents a clear technological

 7   improvement over the ‘conventional multi-zone audio system,’ which, as the specification

 8   explained, presents significant technological and physical obstacles to forming speaker groups”).

 9          517.    Further, because the “All Zones-Party Mode” option was hard-coded into the Sonos

10   Desktop Controller software and the Sonos CR100 Controller firmware – and thus was not a user-

11   created, customized group that was predefined and pre-saved at a user’s request as part of an initial

12   “setup” phase – the “All Zones-Party Mode” option of Sonos’s 2005 system also fails to meet

13   several other limitations of Asserted Claim 1 of the ’966 Patent. For instance, a Sonos controller

14   in a Sonos system never received “a request to create” the “All Zones-Party Mode” option, never

15   “caus[ed] creation of” the “All Zones-Party Mode” option, never “caus[ed] an indication of” the

16   “All Zones-Party Mode” option to be transmitted to a ZonePlayer based on a “request to create”

17   that option, and never “caus[ed] storage of” the “All Zones-Party Mode” option based on a “request

18   to create” that option. 7/19/2022 Discussion with Mr. Millington; 1/9/2023 Discussion with Mr.

19   Lambourne.

20          518.    Further yet, there was no ability for a user to assign a thematic name to the “All

21   Zones-Party Mode” option, which fails to meet the additional “according to a common theme”

22   requirement of Google's proposed construction of a “zone scene,” as interpreted by the Court.

23   7/19/2022 Discussion with Mr. Millington; 1/9/2023 Discussion with Mr. Lambourne.

24          519.    Thus, for at least these reasons, it is my opinion that the “All Zones-Party Mode”

25   option provided by Sonos’s 2005 system was merely just a different way to create an ad-hoc “zone

26   group,” and also does not constitute a “zone scene.” See also SONOS-SVG2-00026839-58 at

27   SONOS-SVG2-00026840 (explaining that the “Zone Scene feature” is “similar to the current Party

28   Mode setting that is available” but that “the Zone Scenes feature is much more flexible and

                                                     269
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 1   powerful”).

 2             520.   I further note that the Sonos 2005 User Guide never uses the term “zone scenes” or

 3   otherwise describes any technology that would have enabled a user to create a user-customized,

 4   pre-saved group of ZonePlayers that was able to exist in an inactive state while remaining available

 5   for selection by a user so that it could later be invoked on demand for synchronous playback, which

 6   further confirms that the Sonos controllers in Sonos’s 2005 system did not have any functional

 7   capability for creating or invoking a “zone scene.”

 8             521.   I have also seen various other Sonos documents confirming that Sonos controllers

 9   in Sonos’s 2005 system did not have any functional capability for creating or invoking a “zone

10   scene.”

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28             523.

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 7          524.    Additionally, I have reviewed                             Sonos’s source code that

 8   Dr. Schonfeld appears to be relying on in his Opening Report, which I understand to be from July

 9   2005, and I did not see any source code modules that provided “zone scenes” capability, which

10   also supports my opinion that Sonos controllers in Sonos’s 2005 system did not have any

11   functional capability for creating or invoking a “zone scene.”

12          525.    For completeness, I further note that the evidence summarized above likewise

13   establishes that the ZonePlayers in Sonos’s 2005 system did not have any functional capability to

14   be added to a “zone scene” that was created at the request of a user or to operate in accordance

15   with “zone scene” that was invoked at the request of a user. Rather, the ZonePlayers in Sonos’s

16   2005 system were only capable of being added to and operating in accordance with a temporary,

17   ad-hoc “zone group,” which was not a “zone scene” for all of the reasons explained above.

18          526.    Lastly, as noted above, my opinion that the Sonos controllers and ZonePlayers in

19   Sonos’s 2005 system did not have the “zone scenes” capability that is described and claimed in

20   the ’966 Patent is supported by conversations I have had with Nick Millington and Rob

21   Lambourne, who confirmed that the Sonos controllers and ZonePlayers in Sonos’s 2005 system

22   did not have the “zone scenes” capability that is described and claimed in the ’966 Patent. I

23   understand that both Mr. Millington and Mr. Lambourne have been Sonos employees since 2003,

24   and during the 2005-06 timeframe, Mr. Millington and Mr. Lambourne were heavily involved in

25   designing and developing the technology that was being practiced by Sonos’s system as it existed

26   in 2005.

27          527.    Despite this clear evidence establishing that the Sonos controllers and ZonePlayers

28   in Sonos’s 2005 system did not have any “zone scene” capability, Dr. Schonfeld nevertheless

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 1          680.    Still further yet, the foregoing posts do not disclose or suggest any particular

 2   functionality for storing a “mode” or a “virtual zone,” let alone the claimed functionality whereby a

 3   “computing device” that is “serving as a controller for a networked media playback system comprising

 4   a first zone player and at least two other zone players” causes a “zone scene” to be stored at a “zone

 5   player” that is a group member of the “zone scene,” as required by Asserted Claim 4 of the ’966

 6   Patent. In this way, the foregoing posts appear to express nothing more than mere hope that Sonos

 7   would someday invent a “zone scene” functionality that had not been achieved before. See, e.g.,

 8   GOOG-SONOS-WDTX-INV-00015877 at 877 (“I would like to setup say Morning mode ….”);

 9   GOOG-SONOS-WDTX-INV-00015870 at 870 (“Why can’t I have a virtual zone ….

10   PLEASE!”).27

11          681.    Dr. Schonfeld also attempts to rely on Mr. Lambourne’s testimony to conclude that

12   “the users requesting ‘virtual zones’ and ‘macro’ or ‘preset’ groups disclosed the ‘zone scene’

13   concept.” Schonfeld Op. Report at ¶ 361. However, Mr. Lambourne testified that his claimed

14   “zone scene” functionality addressed the need of the foregoing users; not that the foregoing users

15   disclosed the claimed “zone scene” functionality. Lambourne Dep. Tr. at 131:3-7 (“Did you

16   invention address the concerns of these users through adding Zone Scenes? … THE WITNESS:

17   Yes. My invention would describe the need described here.”). In fact, as discussed above, Mr.

18   Lambourne already memorialized his thoughts on his “zone scene” concept at least 4 months

19   before the foregoing post by user “JeffT.” Supra Sections XIII.C, XI.B.

20          682.    Because the Sonos Forums reference fails to disclose or suggest a “computing

21   device” that is programmed with the controller-side “zone scenes” functionality required by the

22   Asserted Claims of the ’966 Patent, even if a POSITA in 2005-06 were to modify Sonos’s 2005

23   system to incorporate the discussion in the identified user posts from Sonos Forums, it is my

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25   27
       With respect to the February 27, 2005 “Virtual Zones and Zone Grouping” post, Dr. Schonfeld
26   asserts that “two different ‘party modes, Summer and Winter,’ [] overlapped because ‘[t]he
     Summer mode would include the deck speakers and the Winter mode would not.’” Schonfeld Op.
27   Report ¶ 363. I disagree. This post just says that “[t]he Summer mode would include the deck
     speakers and the Winter mode would not.” It says nothing about the two “modes” having any
28   speakers in common.

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 1   opinion that a Sonos controller in such a modified Sonos system still would not have the “zone

 2   scenes” capability required by the Asserted Claims of the ’966 Patent.

 3          683.    Third, Dr. Schonfeld has failed to provide any explanation as to how Sonos’s 2005

 4   system would have actually been modified to combine it with the subject matter discussed in the

 5   identified user posts from Sonos Forums – let alone how that alleged combination would have

 6   achieved the claimed invention.

 7          684.    Fourth, I disagree that these two isolated Sonos Forum posts demonstrate that a

 8   POSITA in 2005-06 would have been motivated to replace Sonos’s ad-hoc “zone group”

 9   functionality with the specific “zone scenes” functionality required by either Asserted Claim 1 of

10   the ’885 Patent or Asserted Claim 1 of the ’966 Patent (which go well beyond what is discussed

11   in the Sonos Forums posts), particularly in view of all of the other evidence showing that the

12   existing ad-hoc “zone group” functionality of Sonos’s 2005 system was being praised at the time,

13   as well as the time, effort, and cost that would have been required to overhaul the grouping mechanism

14   of Sonos’s 2005 system.

15          685.    I have also seen other Sonos Forum posts contradicting Dr. Schonfeld’s theory that

16   a POSITA would have been motivated to replace Sonos’s ad-hoc “zone group” functionality with

17   the claimed “zone scene” functionality in view of the identified user posts from the Sonos Forums.

18   For instance, as explained above, I have seen other user posts from the Sonos Forums casting doubt

19   as to how overlapping “zone scenes” would have worked in Sonos’s system. For example, even

20   after the claimed conception date, a post from “Majik” on April 18, 2006 suggests that there were

21   concerns about potential “side-effects” if “zones [can] be allowed to be in more than one group.”

22   GOOG-SONOS-WDTX-INV-00015870 at 871. I have also seen evidence from other Sonos

23   threads suggesting that, even in 2016, users thought overlapping “zone scenes” would have been

24   “logically impossible” to implement in Sonos’s system. SONOS-SVG2-00226916 at 916. Given

25   this skepticism, it is my opinion that a POSITA would have been dissuaded from modifying

26   Sonos’s 2005 system in view of the identified user posts from the Sonos Forums.

27          686.    Fifth and finally, because there is no evidence that a POSITA in 2005-06 would

28   have been motivated to modify Sonos’s 2005 system in view of the identified user posts from the

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 1   player-side “zone scenes” functionality required by Asserted Claim 1 of the ’885 Patent or the

 2   specific controller-side “zone scenes” functionality required by the Asserted Claims of the ’966

 3   Patent that Dr. Schonfeld failed to analyze.

 4          708.    Third, Dr. Schonfeld has failed to provide any explanation as to how Sonos’s 2005

 5   system would have actually been modified to combine it with the identified functionality of

 6   Nourse’s “centralized speaker system” – let alone how that alleged combination would have

 7   achieved the claimed invention.

 8          709.    Fourth, I disagree that a POSITA in 2005-06 would have been motivated to modify

 9   Sonos’s 2005 system to combine it with the identified functionality of Nourse’s “centralized

10   speaker system.” As discussed above, Sonos’s 2005 system already included ad-hoc “zone group”

11   functionality that allowed the ZonePlayers to be grouped together on demand for synchronous

12   playback (albeit in a different way than the claimed “zone scenes” functionality). The evidence I have

13   seen shows that this ad-hoc “zone group” functionality was being praised throughout the industry. See,

14   e.g., GOOG-SONOS-NDCA-00108095 at 365 (disclosing that Sonos’s system in 2006 was “pure

15   heaven” and touting that “[y]ou can perform some pretty sophisticated stunts using that remote, like

16   directing different streams of music to different rooms, linking several rooms so that they all play the

17   same music….”); SONOS-SVG2-00234176 at 76-77 (Feb. 3, 2005 PC Magazine article stating

18   Sonos’s ZP100 “is the first digital audio hub we can recommend without reservation. . . . It can play

19   the same music throughout the house, perfectly synchronized. Even though that may seem drop-dead

20   simple, other hubs don’t do it. And you can join multiple rooms to play the same music . . . on the

21   fly.”); SONOS-SVG2-00227422 (March 22, 2005 PC Magazine article stating the same); SONOS-

22   SVG2-00234162 at 62-64 (Feb. 24, 2005 Wall Street Journal article stating “[t]he Sonos system is

23   easily the best music-streaming product I have seen and tested,” and “[i]t’s the Lexus of the category”

24   at least because “[t]he system works in multiple rooms of a home, allowing you to play . . . the same

25   songs, in each room simultaneously . . . . you can group the ‘Zones,’ so several receive the same music

26   simultaneously.”); SONOS-SVG2-00234165 (listing various “[a]wards, accolades and achievements”

27   by Sonos in 2004-2006); SONOS-SVG2-00234171 (same); SONOS-SVG2-00234181 (2005 Playlist

28   Magazine article stating “[y]ou can control each ZonePlayer independently of the others, or you can

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 1   sync all of them for full-house entertainment. The result? The music you want, in whatever rooms you

 2   want -- the whole-house-music thing done right . . . . Where the Sonos system stands out from similar

 3   systems is in its zone management. Using the Controller’s Zone menu, you can easily link zones to

 4   play the same music in sync . . . .”); SONOS-SVG2-00234182 at 84 (Dec. 2005 LA Audio file article

 5   stating “[u]sing the Link Zone feature, users can link some or all of the listening zones to a single

 6   group. This is particularly useful when having a party or when one might be moving from one room

 7   to another within the house and would like to hear the same music.”), at 86 (“Having seen so many

 8   options for distributing audio in today’s homes, I can’t think of a better all-around product than the

 9   Sonos Digital Music System.”). And conversely, I have not seen any evidence suggesting that a

10   POSITA in 2005-06 would have recognized any particular problem with Sonos’s ad-hoc “zone group”

11   functionality that would have led such a POSITA to consider a different mechanism for grouping

12   ZonePlayers in Sonos’s 2005 system on demand for synchronous playback – let alone would have led

13   such a POSITA to implement the identified functionality of Nourse’s “centralized speaker system.”

14   For at least these reasons, I disagree that a POSITA in 2005-06 would have been motivated to replace

15   the existing ad-hoc “zone group” functionality of Sonos’s 2005 system with the identified functionality

16   of Nourse’s “centralized speaker system,” particularly in view of the time, effort, and cost that would

17   have been required to overhaul the grouping mechanism of Sonos’s 2005 system.

18            710.   Nevertheless, in his Opening Report, Dr. Schonfeld offers several unsupported,

19   conclusory theories as to why it a POSITA in 2005-06 would have allegedly found it obvious to

20   combine Sonos’s 2005 system with the identified functionality of Nourse’s “centralized speaker

21   system” in the specific manner proposed by Dr. Schonfeld. However, in addition to the fact that Dr.

22   Schonfeld failed to provide any analysis as to how or why the combination of Sonos’s 2005 and

23   Nourse achieves the specific controller-side “zone scenes” functionality required by Asserted

24   Claim 1 of the ‘966 Patent, I disagree with Dr. Schonfeld’s theories for the reasons explained

25   below.

26            711.   For instance, at paragraph 384 of his Opening Report, Dr. Schonfeld says that a

27   POSITA would have been motivated to combine Sonos’s 2005 system with Nourse because

28   Nourse is “analogous to the ’885 patent” and “reasonably pertinent to the problem to be solved by

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 1

 2            Claim 16                   Computing Devices Installed With the Sonos S2 App
      [16.0] The non-            As described above, each computing device installed with the Sonos
 3    transitory computer-       S2 app for iOS or Android comprises a “non-transitory computer-
 4    readable medium of         readable medium,” as recited in claim 9. Moreover, in accordance
      claim 9, [16.1] wherein    with the program instructions, each computing device installed with
 5    receiving the first        the Sonos S2 app for iOS or Android is programmed to receive a
      request comprises          first request to create a first zone scene that takes the form of a first
 6    receiving a first set of   set of one or more inputs received via a user interface of the
      one or more inputs via     computing device installed with the Sonos S2 app for iOS or
 7    a user interface of the    Android. See claim limitation 8.1.
 8    computing device,
      [16.2] wherein             In accordance with the program instructions, each computing device
 9    receiving the second       installed with the Sonos S2 app for iOS or Android is programmed
      request comprises          to receive a second request to create a second zone scene that takes
10    receiving a second set     the form of a second set of one or more inputs received via the user
      of one or more inputs      interface. See claim limitation 8.2.
11
      via the user interface,
12    and
      [16.3] wherein             In accordance with the program instructions, each computing device
13    receiving the third        installed with the Sonos S2 app for iOS or Android is programmed
      request comprises          to receive a third request to invoke the first zone scene that takes the
14    receiving a third set of   form of a third set of one or more inputs received via the user
      one or more inputs via     interface. See claim limitation 8.3.
15
      the user interface.
16

17
            1612. As I explain below, I have seen evidence that Sonos’s S2 products and Sonos’s
18
     zone scene technology has received significant praise in this industry by journalists and others in
19
     the audio space since Sonos’s release of this technology in 2020. Because Sonos’s S2 products
20
     practice the Asserted Claims of the ’966 Patent, and because the praise is directed to these S2
21
     products as well as to the specific “zone scene” features within these S2 products, it is my opinion
22
     that the evidence of the secondary considerations of non-obviousness has a sufficient nexus to the
23
     Asserted Claims of the ’966 Patent.
24
            B.      Evidence of Secondary Considerations of Non-Obviousness
25
                    1.      Praise by Others
26
            1613.    I have seen evidence that Sonos’s S2 products and Sonos’s zone scene technology
27
     has received significant praise in this industry by journalists and others in the audio space since
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                                                     679
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 1   Sonos’s release of this technology in 2020. This supports my opinion that the Asserted Claims of

 2   the ’966 Patent would not have been obvious to a POSITA at the time of the invention.

 3           1614. For example, on May 7, 2020, Executive Traveler praised the Sonos S2 products

 4   by stating “Sonos promises the S2 app's revamped screens "will make it even simpler for customers

 5   to search for content and control sound", but we're most excited about the ability to save 'room

 6   groups'.” SONOS-SVG2-00062279 - SONOS-SVG2-00062291 at 285.

 7           1615. As another example, on June 30, 2020, Gearbrain praised the Sonos S2 products

 8   by recognizing that Sonos’s zone scene technology “makes it easy to assign speakers to floors,

 9   with groups called 'upstairs' and 'downstairs', within the app.”       SONOS-SVG2-00062342 -

10   SONOS-SVG2-00062346 at 344.

11           1616. As another example, on June 8, 2020, CNN touted the advantages of Sonos’s zone

12   scene technology as “the best feature of [the] Sonos S2 [app]” because it provides “the ability to

13   save a group of speakers as a preset.” SONOS-SVG2-00062361 - SONOS-SVG2-00062364 at

14   363.

15           1617. As another example, Emotivv praised the Sonos S2 products and Sonos’s zone

16   scene technology by stating “[a] new feature called 'Room Groups', introduced in the Sonos S2

17   update, allows users to create lasting groups of particular zones that you often use in unison – the

18   lounge and kitchen, perhaps – so that you don't have to manually group the rooms together every

19   time. Ultimately, Sonos is still the smoothest multi-room set-up going.” SONOS-SVG2-00062368

20   - SONOS-SVG2-00062369 at 368

21           1618. As another example, on May 6, 2020 AI praised the Sonos S2 products and Sonos’s

22   zone scene technology by stating that the Sonos S2 products have “an improved user experience

23   and finally delivers saved room groups.” SONOS-SVG2-00062381 - SONOS-SVG2-00062387 at

24   385.

25           1619. As another example, on March 17, 2020 Engadget praised the Sonos S2 products

26   and Sonos’s zone scene technology by recognizing that “[c]urrently, you need to re-group all your

27   speakers on an individual basis,” but Sonos’s zone scene technology “should make common

28   grouping configurations much easier.” SONOS-SVG2-00062403 - SONOS-SVG2-00062406 at

                                                     680
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 1   404.

 2           1620. As another example, TechRadar recently praised the Sonos S2 products and

 3   Sonos’s zone scene technology by recognizing that Sonos’s zone scene technology “should allow

 4   you to get entire areas of your home – downstairs, for example – playing music much more quickly

 5   than before.” SONOS-SVG2-00062407 - SONOS-SVG2-00062415 at 408.

 6           1621. As another example, on June 9, 2020 Audioholics praised the Sonos S2 products

 7   and Sonos’s zone scene technology by recognizing the “improved usability” with Sonos’s zone

 8   scene technology: “One new feature will be ‘Room Groups,’ which allows the user to create groups

 9   of particular zones that are often used together — the kitchen and living room, the bedroom and

10   bathroom, etc. Before this update, users would have to group these zones together manually, each

11   time they started listening.” SONOS-SVG2-00062429 – SONOS-SVG2-00062432 at 430.

12           1622. As another example, on May 7, 2020 The Mac Observer praised the Sonos S2

13   products and Sonos’s zone scene technology by recognizing Sonos’s “Room Groups” as “the most

14   beneficial announced feature” that “promises to make [ ] Sonos systems a little smarter about

15   keeping certain sets of speakers linked” and further describing the feature as a “convenience

16   benefit.” SONOS-SVG2-00062433 – SONOS-SVG2-00062437 at 434.

17           1623. As another example, on March 17, 2020 TechHive praised the Sonos S2 products

18   and Sonos’s zone scene technology by noting “the new OS and app will have a new feature called

19   ‘room groups,’ which enable you to define a room containing several Sonos speakers and control

20   all of them at the same time. This could be very useful ….” SONOS-SVG2-00062443 – SONOS-

21   SVG2-00062448 at 444.

22           1624. As another example, on June 8, 2020 MobileSyrup praised the Sonos S2 products

23   and Sonos’s zone scene technology by noting “You can even link speakers together into pre-set

24   groups to set up a multi-room experience much quicker, which is handy if you have lots of

25   speakers. … Now, with these new groups, I can make a four-speaker group that I can push music

26   or podcasts to more quickly.” SONOS-SVG2-00062449 - SONOS-SVG2-00062453 at 449.

27           1625. As another example, on January 14, 2021 Yahoo! News praised the Sonos S2

28   products and Sonos’s zone scene technology by recognizing that “the ability to save room

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 1   groupings” makes it “easier to play music in multiroom situations with just a tap or two.” SONOS-

 2   SVG2-00062454 - SONOS-SVG2-00062461 at 455.

 3          1626. As another example, on June 13, 2020 Trusted Reviews praised the Sonos S2

 4   products and Sonos’s zone scene technology by touting that “improvements have been made to

 5   room groups” that “will remember commonly-grouped rooms, letting you target music to areas

 6   faster than the current process, where rooms have to be individually grouped together.” SONOS-

 7   SVG2-00062469 - SONOS-SVG2-00062472 at 470.

 8          1627. I have also seen evidence that the accused Google products and the features accused

 9   of infringing the Asserted Claims of the ’966 Patent have received praise in this industry by

10   journalists and others in the audio space. This further supports my opinion that the Asserted

11   Claims of the ’966 Patent would not have been obvious to a POSITA at the time of the invention.

12   In my opinion, there is a sufficient nexus between this evidence and the Asserted Claims of the

13   ’966 Patent for at least the reason that the accused Google products practice the Asserted Claims

14   of the ’966 Patent as I have opined in my Opening Expert Report.

15          1628. As one example of praise for the accused Google products, Venturebeat praises the

16   accused products and their ability to create saved speaker groups, noting that this feature is

17   “amazing.” SONOS-SVG2-00062098 - SONOS-SVG2-00062106 at 098, 100 (listing “10 things

18   to try with your new Google Home smart speaker,” including “1. Make a speaker group,” which

19   the article touts as “amazing”).

20          1629. As another example, CNET praises the accused products and their ability to create

21   saved speaker groups. SONOS-SVG2-00062107 - SONOS-SVG2-00062109 at 108 (offering “5

22   Google Home tips for people who love music,” including “setting up a speaker group so that the

23   Google Home will play music on multiple speakers in your home,” such that “when you select this

24   group, your rockin' tunes will lure partygoers out of your kitchen and to the other rooms in your

25   house where you've got speakers.”);

26          1630. As another example, GamersNavy praises the accused products and their ability to

27   create saved speaker groups.       SONOS-SVG2-00062262 - SONOS-SVG2-00062265 at 262

28   (touting Google “speaker group” functionality as a “convenient feature for those who want to mix

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 1   multiple cast devices for audio streaming.”).

 2          1631. As another example, on November 19, 2018, Slash Gear praises the accused

 3   products and their ability to create saved speaker groups, explaining that the accused speaker group

 4   functionality is a useful and effective feature.      SONOS-SVG2-00062266 - SONOS-SVG2-

 5   00062275 at 266 (touting that Google’s “speaker group” functionality “effectively increases the

 6   number of audio products available in one's home, giving them a greater number of options for

 7   playing content,” and “is useful for providing audio in more than one room at a time.”).

 8          1632. As another example, on November 19, 2018, The Verge praises the accused

 9   products and their ability to create saved speaker groups, noting the same as a “handy feature.”

10   SONOS-SVG2-00062276 - SONOS-SVG2-00062278 at 276 (touting Google “speaker group”

11   functionality as “a handy feature for those who want to combine multiple Google Cast-compatible

12   devices for simultaneous audio streaming.”).

13          1633. As another example, on October 19, 2018, Google’s own blog, The Keyword,

14   praises the accused products and their ability to create saved speaker groups. SONOS-SVG2-

15   00062292 - SONOS-SVG2-00062294 at 292-93 (Google Product Manager sharing “five reasons

16   we’re excited about our newest Chromecast,” including being “able to add Chromecast to speaker

17   groups, so you can listen to your music in sync throughout the house.”).

18          1634. As another example, on November 3, 2016, Ars Technica praises the accused

19   products and their ability to create saved speaker groups, noting that it is a super easy way to set

20   up whole-home audio and a reason to buy the Google Home product. SONOS-SVG2-00062298 -

21   SONOS-SVG2-00062301 at 300 (recognizing Google’s “speaker group” functionality and touting

22   that this functionality “allow[s] you to play synced audio across multiple devices in your home.

23   It's a lot like a Sonos—a super easy way to set up whole-home audio,” and “it's one of the best

24   reasons to buy a Google Home.”).

25          1635. As another example, on February 1, 2022 Android Police praises the accused

26   products and their ability to create saved speaker groups. SONOS-SVG2-00062325 - SONOS-

27   SVG2-00062330 at 328 (touting Google “speaker group” functionality as a “simple and

28   convenient way to group all your Google Home speakers.”).

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 1          1636. As another example, no February 12, 2018, Make Use Of praises the accused

 2   products and their ability to create saved speaker groups, calling it one of the best features of the

 3   accused products. SONOS-SVG2-00062331 - SONOS-SVG2-00062333 at 331 (touting that “one

 4   of the best features you might overlook is the ability to group speakers into zones” by creating

 5   “speaker groups”).

 6          1637. As another example, on January 12, 2017, Android Central praises the accused

 7   products and their ability to create saved speaker groups, explaining that it is one of the coolest

 8   features and the reason that the Chromecast Audio is the “best solution” for a home audio setup.

 9   SONOS-SVG2-00062334 - SONOS-SVG2-00062337 at 334 (touting that “[o]ne of the coolest

10   features of Chromecast Audio and the Google Home app is the grouping setting, and “this reason

11   alone makes the Chromecast Audio the best solution for a complete home audio setup.”).

12          1638. As another example, on December 22, 2019, Mobile Syrup praises the accused

13   products and their ability to create saved speaker groups, calling it a “killer feature.” SONOS-

14   SVG2-00062338 - SONOS-SVG2-00062341 at 338 (touting that Google’s “speaker group”

15   functionality is “one of Google Home/Nest device’s killer features.”).

16          1639. As another example, on November 20, 2018, Thurott praises the accused products

17   and their ability to create saved speaker groups. SONOS-SVG2-00062365 - SONOS-SVG2-

18   00062367 at 365 (“I added the Chromecast Ultra in the living room, which is connected to our TV,

19   and the Google Home and Lenovo Smart Display in our kitchen. So when I cast Google Play Music

20   to the [speaker] group, it played via six different speakers (and/or speaker sets). Nice.”).

21          1640. As another example, The Next Web praises the accused products and their ability to

22   create saved speaker groups.      SONOS-SVG2-00062473 - SONOS-SVG2-00062477 at 474

23   (expressing excitement over Google’s “speaker group” functionality: “I’m pumped for this,

24   because I’ve got a decent-sounding Home speaker, and a Chromecast plugged into my TV (which

25   is in turn connected to this soundbar), and I’ve been dreaming of having them play nice together.”).

26   XVII. ALLEGED NON-INFRINGING ALTERNATIVES

27          1641. Dr Schonfeld sets forth opinions concerning two alleged “non-infringing

28   alternatives,” which he opines “were available at the time of the alleged first infringement.”

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